Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 1 of 7




              EXHIBIT B-1
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 2 of 7

                2021-43212 / Court: 164
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 3 of 7
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 4 of 7
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 5 of 7
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 6 of 7
Case 4:21-cv-02757 Document 1-3 Filed on 08/23/21 in TXSD Page 7 of 7
